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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 ATTORNEY GENERAL OF THE
 UNITED STATES OF AMERICA,

        Plaintiff,
               v.                                    Civil Action No. 22-1372 (JEB)
 STEPHEN A. WYNN,

        Defendant.


                                        ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Defendant’s Motion to Dismiss is GRANTED; and

      2. The case is DISMISSED WITHOUT PREJUDICE.



                                                /s/ James E. Boasberg
                                                JAMES E. BOASBERG
                                                United States District Judge
Date: October 12, 2022




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